                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF IOWA
                                CEDAR RAPIDS DIVISION

                                                     )
TRACEY K. KUEHL, et al.,                             )   Case No. C14-02034-JSS
                                                     )
                      Plaintiffs,                    )   [PROPOSED] ORDER ON
        v.                                           )   PLAINTIFFS’ THIRD
                                                     )   MOTION IN LIMINE
PAMELA SELLNER, et al.,                              )   REGARDING ORDER OF PROOF
                                                     )
                       Defendants.                   )

 [Proposed] Order Granting Plaintiffs’ Third Motion in Limine Regarding Order of Proof

        Plaintiffs have moved this Court for an order granting their Third Motion in Limine

Regarding Order of Proof, seeking to include testimony of their expert witness, David Allen, in

their case-in-chief. At the time of disclosures some seven months ago, Plaintiffs had designated

Mr. Allen as a rebuttal expert witness in response to Defendants’ designation of Defendant

Pamela Sellner as an expert witness. Defendants did not take any discovery of Mr. Allen. Under

FRE 611 and the interest of judicial economy, the Court finds Mr. Allen should appear in

Plaintiffs’ case-in-chief.



THEREFORE it is ordered this ___ day ______ 2015, that Plaintiffs’ Motion is ALLOWED.


                                                            __________________________
                                                            Jon S. Scoles
                                                            United States District Judge




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